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              AND FUEL GAS CODE WITH ANSI /                                              Chapter Selector                  J
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                                                                                         ANSI/ASH RAE Standard 154-20 I I
                                                                             (Supersedes ANSI/ASHRAE Standard 154-2003)




                                         Ventilation for
                                         Commercial
                                         Cooking Operations



                                         Approved by the ASHRAE Standards Committee on January 29, 2011 ; by the ASHRAE Board of Directors on
                                         February 2, 2011 ; and by the American National Standards Institute on March 3, 2011 .

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                                                                                                                                    ISSN 1041 -2336




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                  (This foreword is not part of this standard. It is merely informative
                  and does not contain requirements necessary for conformance to the
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                  objectors on informative material are not offered the right to appeal
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                  FOREWORD

                  First published in 2003, ASHRAE Standard 154 has been thoroughly
                  revised in this edition to make it code enforceable and to provide the most
                  complete design guidance available on commercial kitchen ventilation
                  components and systems. In revising this standard, the project committee
                  has drawn upon recent laboratory research that was sponsored in part by
                  ASHRAE and assembled by the ASHRAE Technical Committee on kitchen
                  ventilation, TC 5. 10. It has also relied upon the significant field
                  experiences of the manufacturers, designers, and users of kitchen
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                  ventilation systems. The standard is intended to serve as a template for
                  standardization, harmonization, and ongoing revision of related model and
                  adopted codes and to bring consistency to design requirements and
                  applications of commercial kitchen ventilation systems.

                  The major changes in this edition include the following:

                  • In Section 2, the standard's scope has been revised to clarify its focus on
                  three types of systems: kitchen hoods, exhaust systems, and replacement
                  air systems.

                  • In Section 3, new definitions have been added and others revised to
                  provide more explicit guidance to code officials.

                  • In Section 4, Table 1 now specifies when hoods are required for various
                  appliances or cooking operations and defines the duty level for the
                  cooking operation when Type II is used. Table 2 provides the duty level for
                  cooking operations that require a Type 1 hood. Additionally, Section 4 now
                  states that a Type I hood must be listed to the appropriate standard.
                  Tables 3 and 4 have been revised to show updated overhangs and
                  minimum exhaust airflow rates for Type II hoods. Section 4. 6 on demand-
                  control ventilation has been added.

                  • In Section 5, duct leakage performance tests to verify that installed
                  ductwork is not leaking have been added.

                  • Section 7, "System Controls," has been added.

                  In addition to being written in code-enforceable language, Standard 154
                  now includes notes and appendices that provide a better understanding of
                  best design practices.

                  The project committee would like to thank Bob Ajemian, Greg DuChane,
                  Mark Finck, Don Fisher, Jason Greenberg, Doug Horton, Ken Hutchinson,
                  Tom Kuehn, Bruce Lukens, Mike Morgan, Dwayne Sloan, and Tony Spata
                  for their help in revising this standard.

                  1. PURPOSE

                  The purpose of this standard is to provide design criteria for acceptable
                  performance in commercial cooking ventilation systems.

                  2. SCOPE

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                  This standard covers the following:

                  a. kitchen hoods,

                  b. exhaust systems, and

                  c. replacement air systems.

                  2.2
                  This standard shall not be used to circumvent any safety, health, or
                  environmental requirements.

                  3. DEFINITIONS

                  air curtain supply: see air curtain under makeup air (dedicated
                  replacement air), which is under replacement air.

                  appliance: a cooking device or apparatus used in a kitchen that
                  consumes energy provided by gas, electricity, solid fuel, steam, or another
                  fuel source.

                  appliance duty level: an appliance rating category based upon the
                  exhaust airflow required to capture, contain, and remove the cooking
                  effluent and products of combustion under typical operating conditions
                  with a non-engineered wall-mounted canopy hood (based upon ASHRAE
                  RP-1362 1 ). This is different from the historical approach, in which duty
                  levels were based upon the temperature of the cooking surface. The
                  following appliance duty classifications are used in this standard:

                  • light: a cooking process requiring an exhaust airflow rate of less than
                  200 cfm/ft (310 L/s/m) for capture, containment, and removal of the
                  cooking effluent and products of combustion.

                  • medium: a cooking process requiring an exhaust airflow rate of 200 to
                  300 cfm/ft (310 to 460 L/s/m) for capture, containment, and removal of the
                  cooking effluent and products of combustion.

                  • heavy: a cooking process requiring an exhaust airflow rate of 300 to 400
                  cfm/ft (460 to 620 L/s/m) for capture, containment, and removal of the
                  cooking effluent and products of combustion.

                  • extra-heavy: a cooking process requiring an exhaust air-flow rate
                  greater than 400 cfm/ft (620 L/s/m) for capture, containment, and removal
                  of the cooking effluent and products of combustion.
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                  appliance with integral hood: an electric appliance having an integrated
                  hood system that has been listed to UL Standard 1972 or UL Standard
                  710B. 3

                  approved: acceptable to the authority having jurisdiction.

                  back-wall supply: see back-wall under makeup air (dedicated
                  replacement air), which is under replacement air.

                  baffle filter: see grease removal device.

                  capture area: the area within an exhaust hood that contains cooking
                  effluent until it is exhausted.

                  capture and containment (C&C): an exhaust hood's ability to capture
                  and contain the cooking effluent and heat generated during cooking
                  operations.

                  cartridge filter: see grease removal device.

                  centrifugal fan: see exhaust fan.

                  certified: see listed.

                  compensating hood: see internal under makeup air (dedicated
                  replacement air), which is under replacement air.

                  commercial cooking appliance: an appliance specifically designed to be
                  used in a food-service-establishment kitchen such as, but not limited to, a
                  restaurant or cafeteria kitchen. Appliances designed for residential use
                  shall be treated as commercial appliances when installed in commercial
                  food-service establishments.

                  condensate hood: see hood, Type II hood.

                  cooking effluent: the emissions generated by cooking appliances during
                  their operation, such as convective heat, moisture, vapor, products of
                  combustion, smoke, and particulate matter.

                  demand-control ventilation: a ventilation system that utilizes an
                  automatically controlled variable-speed device, such as a multi-speed fan
                  or variable-speed drive, to modulate the exhaust airflow rates in response
                  to the variation in cooking load.

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                  duct: a conduit for conveying cooking effluent from the hood to the
                  outdoors or for conveying replacement air into a room or space.

                  ductless hood: a packaged system that incorporates a hood, a fan, and
                  air treatment devices designed to limit the grease and particulate matter in
                  the airstream before reintroducing the treated air into the space.

                  end skirt: see side panel.

                  exfiltration: see this term under the definition of replacement air.

                  exhaust fan: a fan used to exhaust cooking effluent collected by a hood.
                  Also referred to as a power ventilator. The majority of these fans have a
                  centrifugal fan wheel. Fans used in Type I hood applications must include
                  provisions for handling grease and access for cleaning.

                  • roof exhaust fan or power roof ventilator: a fan designed for curb
                  mounting on a roof and that discharges downward toward the roof,
                  vertically up away from the roof, or horizontally away from the building.
                  Fans that discharge downward may be used only for Type II hood
                  applications.

                  • up-blast exhaust fan: a fan designed for curb-mounting on a roof or for
                  wall mounting. Air enters the fan axially but discharges radially from the
                  centrifugal impeller and turns 90 degrees to exit the fan vertically where
                  roof-mounted and horizontally where wall-mounted.

                  • side-wall exhaust fan: a fan design similar to an up-blast exhaust fan,
                  but designed to mount outdoors on the side wall of a building. The
                  mounting arrangement and internal construction may be specific to side
                  discharge orientation. The fan discharges horizontally away from the
                  building.

                  • in-line exhaust fan or tubular centrifugal fan: a fan designed for
                  mounting indoors or outdoors in a section of duct between the hood and
                  the point of discharge. Air enters the fan axially and discharges linear to
                  the entrance.

                  • utility-set exhaust fan: a fan typically designed with a single-inlet, a
                  scroll housing, and a backward-inclined or an airfoil centrifugal impeller. It
                  can provide a higher static efficiency capability than a typical power roof
                  ventilator. Air enters the impeller axially and leaves it in a substantially
                  radial direction. These can be mounted indoors or outdoors in-line having
                  additional duct between the fan outlet and the point of discharge.
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                  exhaust fire (actuated) damper: a damper arranged to automatically
                  close to restrict the passage of fire airflow into the exhaust duct.

                  fire resistance rating: the time rating of a material or assembly indicating
                  its ability to withstand exposure to a fire.

                  fire suppression system: an automatic fire suppression system that is
                  specifically designed to protect Type I hood system(s) and, where
                  required, the cooking appliances served by the hood system(s).

                  front-face supply: see front-face under makeup air (dedicated
                  replacement air), which is under replacement air.

                  grease duct: a duct system for the conveyance of cooking effluent. The
                  system is designed and installed to reduce the accumulation of
                  combustible condensation, thus reducing the possibility of fire within the
                  duct system.

                  grease laden: containing grease particles and/or grease vapor.

                  grease removal device: a device designed and installed in a Type I hood
                  to remove grease vapor and/or particles from the airstream. As used in
                  this standard, the term refers to devices that are certified to UL Standard
                  1046, Grease Filters for Exhaust Ducts, 4 or to UL Standard 710, Exhaust
                  Hoods for Commercial Cooking Equipment, 5 as part of the hood. Devices
                  include, but are not limited to, the following:

                  • baffle filter: a filter typically having a series of vertical baffles designed
                  to capture grease and drain to a grease trough. Filters are removable for
                  cleaning and maintenance of the hood.

                  • cartridge filter: a filter having a horizontal slot opening with a series of
                  internal deflectors designed to capture grease and drain to a grease
                  trough. Filters are removable for cleaning and maintenance of the hood.

                  • fixed or stationary extractor: a device typically having horizontal slot
                  openings with a series of internal deflectors designed to capture grease
                  and drain to a grease trough. Extractors are not removable from the hood
                  and typically have access doors for cleaning and maintenance of the
                  hood.

                  • multi-stage extractor or filter: these devices consist of a series of two
                  or more grease removal devices located in the hood.

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                  • removable extractor: any style of grease removal device that is
                  removable from the hood.

                  • water wash: a version of the fixed extractor that has a system of built-in
                  nozzles for cleaning the grease removal device.

                  greasetight: designed to prevent the leakage of grease under normal
                  operating conditions.

                  hood: a device designed to capture and contain cooking effluent,
                  including grease, smoke, steam, heat, and vapor, until it is exhausted
                  through a duct or recirculating system. Hoods are categorized as Type I or
                  Type II:

                  1. Type I hood: a hood used for collecting and removing convective heat,
                  grease particulate, condensable vapor, and smoke. It includes listed
                  grease filters, baffles, or extractors for removing the grease and a
                  fire-suppression system. Type I hoods are installed over cooking
                  appliances, such as ranges, fryers, griddles, broilers, and ovens, that
                  produce smoke or grease-laden vapors. For Type I hoods, The following
                  types of hoods are commonly available:

                  a. wall-mounted canopy hood: a wall canopy exhaust hood is mounted
                  against a wall above a single appliance or a line of appliances, or it may
                  be freestanding with a vertical back panel extending from the rear of the
                  appliance(s) to the hood. It typically overhangs the front and sides of the
                  appliance(s) on all open sides of the hood. The wall acts as a back panel,
                  forcing replacement air to be drawn across the front and/ or side(s) of the
                  cooking appliance, thus increasing the effectiveness of the hood to
                  capture and contain effluent generated by the cooking operations.
                  Mounting height varies.

                  b. single-is/and canopy hood: a single-island canopy hood is placed
                  over a single appliance or line of appliances. It is open on all sides and
                  overhangs the front, rear, and sides of the appliance(s). A single-island
                  canopy is more susceptible to cross-drafts and requires greater exhaust
                  airflow than an equivalent-sized wall-mounted canopy to capture and
                  contain effluent generated by the cooking operations. Mounting height
                  varies.

                  c. double-is/and canopy hood: a double-island canopy hood is placed
                  over back-to-back appliances or lines of appliances. It is open on all sides
                  and overhangs the front and the sides of the appliance(s). It may have a
                  wall panel between the backs of the appliances. Mounting height varies.
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                  d. backshelf hood: also referred to as non-canopy hood, /ow-proximity
                  hood, or sidewall hood (where wall mounted). Its front lower lip is low over
                  the appliance(s) and is typically set back from the front of the appliance(s),
                  which means there may be no front overhang of appliance(s). It is always
                  closed to the rear of the appliances by a panel where free-standing or by a
                  panel or wall when wall mounted, and its height above the cooking surface
                  varies. This style of hood can be constructed with partial end panels to
                  increase its effectiveness in capturing the effluent generated by the
                  cooking operations.

                  e. eyebrow hood: an eyebrow hood is mounted directly to the face or top
                  of an appliance above the opening(s) or door(s) from which effluent is
                  emitted, overhanging the front of the opening(s) to capture the effluent.
                  Mounting height is fixed.

                  f. pass-over hood: a pass-over hood is a backshelf hood constructed and
                  installed low enough to allow food to be passed over the top. Mounting
                  height varies.

                  g. ventilated ceiling hood: typically installed so that the bottom edge of
                  the hood is flush with the ceiling height.

                  2. Type II hood: a hood that collects and removes steam, heat, and
                  products of combustion where grease or smoke is not present. It may or
                  may not have grease filters or baffles and is not designed to have a
                  fire-suppression system. A Type II hood can be used where the cooking
                  operation from each appliance underneath the hood does not produce
                  grease in excess of 3.1 x 1o- 7 lb/ft3 (5 mg/m 3 ) when measured at 500 cfm
                  (236 Us) exhaust airflow.

                  hood type: see hood, Type I hood and Type II hood.

                  infiltration: see this term under the definition of replacement air.

                  interlock, direct: the direct connection between equipment such as
                  common circuit, relays, etc.

                  interlock, indirect: the indirect connection between equipment through an
                  external controller such as a timeclock, building automation system, heat
                  sensor, etc.

                  internal discharge makeup air: see internal under makeup air (dedicated
                  replacement air), which is under replacement air.

                  labeled: equipment or materials to which a label, symbol, or other BACK TO TOP

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                  identifying mark of an organization, acceptable to the authority having
                  jurisdiction, has been attached . This organization is concerned with
                  product evaluation and maintains periodic inspection of the production of
                  labeled equipment or materials. By labeling the equipment or materials,
                  the manufacturer indicates compliance with appropriate standards or
                  performance in a specified manner.

                  liquid-tight: constructed and performing so as not to permit the leakage of
                  any liquid at any temperature.

                  listed: equipment or materials included in a list published by an
                  organization acceptable to the authority having jurisdiction. This
                  organization is concerned with product evaluation and performs periodic
                  inspections of production of listed equipment or materials. The list states
                  either that the equipment or material meets appropriate standards or that it
                  has been tested and found suitable for use in a specified manner.

                  makeup air: see makeup air (dedicated replacement air) under
                  replacement air.

                  mounting height: typically the height above the finished floor at which the
                  bottom front edge of canopy or non-canopy hood is mounted. Listed hoods
                  are typically rated at the minimum and maximum heights above the
                  cooking surface at which they may be mounted.

                  multiple-hood exhaust system: a system in which more than one hood
                  is connected to a common exhaust duct and fan system.

                  multi-stage extractor: see grease removal device.

                  net exhaust flow rate: the exhaust flow rate for a hood, minus any
                  internal discharge makeup air flow rate.

                  overhang: the horizontal distance that the lower front edge of the hood
                  extends beyond the top horizontal cooking surface of the appliance.

                  outdoor air: the air outside of a building or air taken from the outdoors
                  and not previously circulated through an HVAC system.

                  packaged: provided by a manufacturer or vendor in a substantially
                  complete and operable condition.

                  power roof ventilator: see exhaust fan.

                  recirculating system: see ductless hood.                                         BACK TO TOP


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                  replacement air: outdoor air that is used to replace air removed from a
                  building through an exhaust system. Replacement air may be derived from
                  one or more of the following: makeup air, supply air, transfer air, and
                  infiltration. However, the ultimate source of all replacement air is outdoor
                  air.

                  • makeup air (dedicated replacement air): air deliberately brought into
                  the building from the outdoors and supplied to the vicinity of an exhaust
                  hood to replace the air and cooking effluent being exhausted. Makeup air
                  is generally filtered and fan-forced, and it may be heated or cooled
                  depending on the requirements of the application. Makeup air may be
                  delivered through outlets integral to the exhaust hood (compensating
                  hoods) or through outlets in the same room. The following are systems
                  that are commonly used to supply makeup air:

                  1. air curtain: air that is introduced vertically downward through a slot,
                  louvers, or holes along the front edge of the hood or around the perimeter
                  of the hood. This design has also been referred to as down-discharge.

                  2. back-wall: air that is introduced behind and/or below the cooking
                  equipment. A makeup air plenum is installed between the back of the hood
                  and the wall. The full-length plenum typically extends down the wall to
                  approximately 6 in. (150 mm) below the cooking surface or 2 to 3 ft (600 to
                  900 mm) above the floor. The air supplied by this system mostly enters the
                  kitchen space rather than remaining contained in the cooking zone.

                  3. front-face: air that is introduced either horizontally or at a slight
                  downward angle from horizontal from the front of the hood plenum.

                  4. internal: typically in this design, untempered makeup air is introduced
                  directly into the hood cavity. This design has also been referred to as
                  short-circuit.

                  5. perimeter: makeup air is discharged vertically downward from a
                  plenum above and outside of the front and sides of the hood.

                  • supply air: air entering a space from an air-conditioning, heating, or
                  ventilating system for the purpose of comfort conditioning. Supply air is
                  generally filtered, fan-forced, and heated, cooled, humidified, or
                  dehumidified as necessary to maintain specified temperature and humidity
                  conditions. Only the quantity of outdoor air within the supply airflow is used
                  as replacement air. The following systems are commonly used for
                  delivering supply air:
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                  1. louvered ceiling diffusers: ceiling installed, aspirating, two, three, or
                  four-way diffusers. Air should not be directed toward the hood.

                  2. perforated diffusers: a ceiling-installed diffuser with a perforated face .
                  Air should not be directed toward the hoods.

                  3. linear slot diffusers: ceiling-installed diffusers, typically placed around
                  the perimeter of rooms. These have a higher discharge velocity than a
                  louvered ceiling.

                  4. displacement diffusers: floor-, wall-, and ceiling-mounted diffusers
                  with perforated face areas providing laminar low-velocity flow from the
                  face.

                  • transfer air: air transferred from one room to another through openings
                  in the room envelope, whether it is transferred intentionally or not. The
                  driving force for transfer air is generally a small pressure differential
                  between the rooms, although one or more fans may be used. Only that
                  portion of air transferred from another room that originated as outdoor air
                  may be considered transfer air.

                  • infiltration: leakage or flow of outdoor air into the building or space
                  through openings in the building or space envelope, whether intentional or
                  unintentional. The driving force for infiltration is a negative pressure in a
                  space or building relative to the exterior of the building envelope.

                  • exfiltration: leakage or flow of indoor air out of the building or space
                  through openings in the building or space envelope, whether intentional or
                  unintentional. The driving force for exfiltration is a positive pressure in the
                  building or space relative to the exterior of the building envelope.

                  setback: the horizontal distance that the top horizontal cooking surface of
                  an appliance extends beyond the front edge of a backshelf or pass-over
                  hood.

                  short-circuit makeup air: see internal under makeup air (dedicated
                  replacement air), which is under replacement air.

                  side panel: a panel that is attached to the lower edge of the end wall of a
                  hood effectively extending the side of the hood down closer to the cooking
                  appliance.

                  smoke bomb: a device that combusts to produce a large volume of that
                  smoke, greater than 400 cfm (189 Lis).
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                  smoke candle or smoke puffer: a device that is ignited and combusts to
                  produce smoke or uses a chemical interaction (such as titanium
                  tetrahydrochloride [TiCL4] with humid air) to produce smoke or emits a
                  silica powder to produce smoke.

                  solid-fuel cooking appliance: an appliance that burns solid fuel such as
                  wood, charcoal, or coal to provide all or part of the heat source for
                  cooking.

                  supply air: see this term under the definition of replacement air.

                  transfer air: see this term under the definition of replacement air.

                  tubular centrifugal fan: see this term under the definition of exhaust fan.

                  4. EXHAUST HOODS

                  4.1 Hood Requirements

                  4.1.1
                  Type I hoods shall be listed in accordance with UL Standard 710, 5 UL
                  Standard 7108, 3 or UL Standard 710C 6 and shall be installed in
                  accordance with their listing requirements. Type II hoods shall meet the
                  requirements of Sections 4.2 through 4.8. Type I hoods shall meet the
                  requirements of Section 4.2 and Sections 4.5 through 4.8. Where a Type II
                  hood is required, a Type II or listed Type I hood shall be provided.

                  4.1.2
                  A performance test of an installed Type I hood shall be carried out as
                  specified in Section 4.8.

                  4.2 Where Required

                  4.2.1
                  Table 1 specifies the Type II hood requirements by appliance description.
                  Table 2 specifies the appliance duty classification as it relates to the Type I
                  hood requirements.

                  Exception: Equipment that is listed in Table 1 and the additional heat and
                  moisture loads generated by unhooded electric appliances are included in
                  the sensible and latent cooling load calculations to determine the required
                  capacity of the HVAC system.

                  4.2.2
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                  Type II hoods shall be installed in accordance with the overhangs shown
                  in Table 3 and the net exhaust airflow rates shown in Table 4 based on the
                  maximum appliance duty level shown in Table 1 for the appliances
                  underneath the hood. Type II hoods may also be installed where cooking
                  or dish-washing appliances produce heat, steam, or products of
                  combustion and do not produce grease in excess of 3.1 x 1o- 7 lb/ft3 (5
                  mg/m 3 ) when measured at an exhaust airflow of 500 cfm (236 Lis).

                  Note: The 5 mg/m 3 grease concentration when measured at 500 cfm (236
                  Lis) of exhaust air is equivalent to 9.3 x 1o- 3 lb/h (4.21 x 1o- 3 kg/h) of
                  grease generated by the cooking process.

                  4.2.3
                  A Type I hood shall be provided where a cooking operation within a
                  commercial or institutional food service facility produces smoke or
                  grease-laden vapors. Appliances that produce greater than 3.1 x 1o-7
                  lb/ft 3 (5 mg/m 3 ) of grease (when measured at 500 cfm or 236 Lis exhaust
                  airflow) shall require a Type I hood. Type I hoods shall be installed in
                  accordance with the overhangs shown in Table 3.

                  Exceptions:

                  a. Cooking appliances not used for commercial purposes and installed
                  within dwelling units.

                  b. Appliances listed in Table 1 that produce less than 3.1 x 1o- 7 lb/ft3 (5
                  mg/m 3 ) of grease (when measured at 500 cfm or 236 Lis exhaust airflow).

                  Note: The 3.1 x 1o- 7 lb/ft3 (5 mg/m 3 ) grease concentration when
                  measured at 500 cfm (236 Lis) of exhaust air is equivalent to 9.3 x 1o- 3
                  lb/h (4.21 x 1o- 3 kg/h) of grease generated by the cooking process.

                  4.3 Type II Hood Sizing

                  4.3.1
                  Type II hood overhangs and setbacks shall comply with Table 3 on all
                  open sides, measured in the horizontal plane from the inside edge of the
                  hood to the edge of the top horizontal surface of the appliance. The
                  vertical distance between the front lower lip of the hood and appliance
                  cooking surface shall not exceed 4 ft (1219 mm).

                  Exception: A side overhang is not required where full side panels nr
                  panels angled from the front lip of the hood to the front of the appli BACK TO TOP


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                  cooking-surface height are installed (see Figure 1).

                  4.3.2
                  The spaces between appliances, the backs of appliances, and the spaces
                  from the appliances to walls or end panels shall be included in overall
                  hood dimensions. In the case of island hoods, appliance flues shall be
                  included in the cooking surface dimensions.

                  4.3.3
                  Hoods shall be mounted above the cooking surface as follows:

                  4.3.3.1 Canopy Type Hood.
                  The vertical distance between the front lower edge of the hood and the
                  cooking surface shall not exceed 48 in. (1219 mm). The vertical distance
                  between the front lower edge of the hood and the finished floor shall not
                  be less than 78 in. (1981 mm). The inside hood height shall be at least 24
                  in. (610 mm).

                  4.3.3.2 Eyebrow Type Hood.
                  The front lower edge of the hood shall be at least 78 in. (1981 mm) above
                  the finished floor.

                  4.3.3.3 Backshelf/Pass-Over Type Hood.
                  The vertical distance between the front lower edge of the hood and the
                  cooking surface shall be a maximum of 24 in. (610 mm) above the cooking
                  surface.

                  4.4 Type II Hood Airflow Rates

                  4.4.1
                  The net exhaust flow rate (see definition in Section 3) for Type II hoods
                  shall comply with Table 4. The duty level for the hood shall be the duty
                  level of the appliance that has the highest (heaviest) duty level of all the
                  appliances that are installed underneath the hood according to Table 1.

                  Exception: Type II hoods that are shown by the performance test in
                  Section 4.8 to provide equivalent capture and containment at lower airflow
                  rates.

                  TABLE 1 Type II Hood Requirements by Appliance Description.

                                                                                               Type II
                                                                                 Hood Not      Hoodsa
                                    Appliance Description              Size
                                                                                                     I
                                                                                Requireda,b Light Medium
                                                                                               Dut BACK T OTOP



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                                     Cabinet, holding , electric                    All             .
                                    Cabinet, proofing, electric                     All             .
                                      Cheese-melter, electric                       All             .
                                       Coffee maker, electric                       All             .
                                    Cooktop , induction, electric                   All             .
                                Dishwasher, under-counter, electric                 All             .
                                Dishwasher, powered sink, electric                  All             .
                                 Drawer warmer, 2 drawer, electric                  All             .
                                        Egg cooker, electric                        All             .
                                    Espresso machine, electric                      All             .
                                        Grill , panini , electric                   All             .
                                     Hot dog cooker, electric                       All             .
                                   Hot plate, countertop, electric                  All             .
                                     Ovens, conveyor, electric                     <6kW             .
                                    Ovens , microwave, electric                     All             .
                            Ovens, warming, electric (add temperature)              All             .
                                    Popcorn machine, electric                       All             .
                                      Rethermalizer, electric                       All             .
                                        Rice cooker, electric                       All             .
                                       Steam table, electric                        All             .
                                      Steamers, bun , electric                      All             .
                    Steamer, compartment atmospheric, countertop, electric          All             .
                    Steamer, compartment pressurized , countertop, electric         All             .
                                      Table, hot food , electric                    All             .
                                          Toaster, electric                         All             .
                                        Waffle iron , electric                      All             .
                                        Cheese-melter, gas                           All                       .
                         Dishwasher, conveyor rack, chemical sanitizing              All                       .
                         Dishwasher, conveyor rack, hot water sanitizing             All                       .
                         Dishwasher, door-type rack , chemical sanitizing            All                       .
                         Dishwasher, door-type rack , hot water sanitizing           All                       .
                    Kettle, steam jacketed, tabletop, electric, gas and direct
                                                 steam
                                                                                    < 20
                                                                                   gallons
                                                                                                               .
                    Oven, convection, half-size , electric and gas (non-protein
                                                cooking)
                                                                                      All                      .
                                       Pasta cooker, electric                        All                       .
                                        Rethermalizer, gas                           All                       .
                                         Rice cooker, gas                            All                       .
                                    Steamer, atmospheric, gas                        All                       .
                                    Steamer, pressurized, gas                        All                       .
                          Steamer, atmospheric, floor-mounted , electric             All                       .
                           Steamer, pressurized, floor-mounted, electric             All                       .
                     Kettle, steam-jacketed floor mounted, electric, gas, and
                                             direct steam
                                                                                    < 20
                                                                                   qallons
                                                                                                               .
                                       Pasta cooker, gas                             All                                  .
                              Smoker, electric and gas, pressurized                  All                                  .
                     Steam-jacketed kettle, floor mounted , electric and gas
                                                                                    ~ 20
                                                                                   gallons
                                                                                                                          .
                   a A hood shall be provided for an electric appliance if it produces 3.1 x 1o-7 lb/ft3 (5 mg/m 3 ) of
                   grease or more when measured at 500 cfm (236 Lis). See Section 4.2.1.                           BACK TO TOP


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                   b Where hoods are not required , the additional heat and moisture loads generated by such
                   appliances shall be accounted for in the sensible and latent loads for the HVAC system.




                  TABLE 2 Type I Hood Requirements by Appliance Type.

                                                                                                Type I Hoods
                                    Appliance Description                         Size Light Medium Heavy Extra-Heavy
                                                                                       Duty Duty Duty         Duty
                               Braising pan/tilting skillet, electric              All        .
                               Oven , rotisserie, electric and gas                 All        .
                             Oven, combination, electric and gas                   All        .
                         Oven , convection, full-size, electric and gas            All        .
                     Oven , convection , half-size, electric and gas (protein
                                             cooking)
                                                                                   All        .
                                Oven , deck, electric and gas                      All        .
                          Oven, mini-revolving rack, electric and gas              All        .
                                  Oven , rapid cook, electric                      All        .
                               Oven , rotisserie , electric and gas                All        .
                   Range , discrete element, electric (with or without oven)       All        .
                                 Salamander, electric and gas                      All        .
                                 Braising pan/tilting skillet, gas                 All              .
                                Broiler, chain conveyor, electric                  All              .
                                  Broiler, electric, under-fired                   All              .
                                    Conveyor oven , electric
                                                                                   2! 6
                                                                                   kW
                                                                                                    .
                                      Conveyor oven, gas                           All              .
                               Fryer, doughnut, electric and gas                   All              .
                                 Fryer, kettle , electric and gas                  All              .
                             Fryer, open deep-fat, electric and gas                All              .
                               Fryer, pressure , electric and gas                  All              .
                            Griddle, double-sided , electric and gas               All              .
                                 Griddle, flat, electric and gas                   All              .
                                  Range, cook-top , induction                      All              .
                       Range , open-burner, gas (with or without oven)             All              .
                                Range , hot top , electric and gas                 All              .
                                  Broiler, chain conveyor, gas                     All                         .
                         Broiler, electric and gas, over-fired (upright)           All                         .
                                    Broiler, gas , under-fired                     All                         .
                                 Range, wok, gas and electric                      All                         .
                   Appliances using solid fuel (wood, charcoal , briquettes,
                                              or
                    mesquite) to provide all or part of the heat source for
                                                                                   All                                   .
                                           cooking




                  TABLE 3 Minimum Overhang Requirements for Type II Hoods.

                          Type of Hood              End Overhang           Front Overhang         Rear Overhang
                      Wall-mounted canopy           6 in . (152 mm)        12 in . (305 mm)              NIA         BACK TO TOP


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                      Single-island canopy     12 in . (305 mm)       12 in . (305 mm)     12 in . (154 mm)
                     Double-island canopy      12 in . (305 mm)        12 in . (305mm)             N/A
                            Eyebrow                     N/A           12 in . (305 mm)             N/A
                  Backshelf/proximitytpass-over 6 in . (152 mm) 10 in . (254 mm) (setback)         N/A


                   N/A - not applicable




                  TABLE 4 Type II Hood Minimum Net Exhaust Airflow Rates.

                                    Minimum Net Exhaust Flow Rate
                  T       f H d per Linear Hood Length in cfm/ft (L/s/m)
                        O    00
                   ype              Light Duty       Medium Duty
                                   Equipment          Equipment
                  Wall-mounted
                                    200 (310)           300 (465)
                      canopy
                   Single island    400 (620)           500 (775)
                  Double island     250 (388)          250 (388)
                     Eyebrow        250 (388)          250 (388)
                     Backshelf
                                    200 (310)           300 (465)
                    (pass-over)




                                   Min. 3ft


                          .-
                                  (914 mm)




                    Min. 3 ft
                    (91 mm)
                                              3x3Partlal
                                              Side Panel




                                      Appllanoo




                  Figure 1 3 x 3 ft partial side panel..

                  4.5 Internal Discharge Makeup

                  4.5.1
                  Where a Type I or Type II hood has internal discharge makeup air, the
                  makeup air flow shall not exceed 10% of the exhaust airflow. The exhaust
                  airflow required to meet this standard shall be the net exhaust from the
                  hood, calculated as follows:
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                  ENET = EHOOD - MAID

                  where

                   ENET   = net hood exhaust, cfm (Lis)
                   EHooo = total hood exhaust, cfm (Lis)
                   MAID   = makeup air, internal discharge, cfm (Lis)




                  4.6 Demand-Control Ventilation

                  4.6.1
                  The exhaust flow rate is permitted to be reduced during partial load
                  cooking and when there is no cooking through the means of demand-
                  control ventilation.

                  4.6.1.1
                  Exhaust rates shall maintain capture and containment of flue gases and
                  cooking effluent from cooking appliances operating at full, partial, or idle
                  load conditions.

                  4.6.1.2
                  Replacement air shall be automatically controlled by variable-speed fans,
                  dampers, or equivalent controls to ensure the air balance of the building in
                  accordance with Section 6.2.

                  4. 7 Type I Hood Grease Extraction

                  4.7.1
                  Type I hoods shall be provided with a grease removal device in
                  accordance with their listing.

                  4.7.2
                  For grease removal devices that report grease removal efficiency, the
                  efficiency data shall be reported as determined by ASTM F2519. 7

                  4.8 Hood Performance Test

                  4.8.1 Type II Hood Performance Test.
                  A performance test shall be conducted upon the completion of-and
                  before final approval of-installation of a ventilation system serving
                  commercial cooking appliances. The test shall verify the rate of exhaust
                  airflow required by Section 4.2. The permit holder shall furnish the
                  necessary test equipment and devices required to perform the tes1 BACK TO TOP


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                  4.8.2 Type I Hood Capture and Containment Test.
                  The permit holder shall verify the capture and containment performance of
                  Type I hoods. A field test shall be conducted with all appliances under the
                  hood at operating temperatures, with all sources of outdoor air providing
                  makeup air for the hood operating, and with all sources of recirculated air
                  providing conditioning for the space in which the hood is located operating.
                  Capture and containment shall be verified visually by observing smoke or
                  steam produced by actual cooking operation or by simulating cooking
                  using devices such as smoke candles or smoke puffers. Smoke bombs
                  shall not be used.

                  Note: Smoke bombs typically create new effluent from a point source and
                  do not necessarily show whether the cooking effluent is being captured.
                  Actual cooking at the normal production rate is the most reliable method of
                  generating smoke.

                  5. EXHAUST SYSTEMS

                  5.1 Duct Systems

                  5.1.1
                  Ducts serving Type I hoods shall be constructed of carbon steel of a
                  minimum 16 gauge thickness or stainless steel of a minimum 18 gauge
                  thickness. All seams, joints, and penetrations shall have a liquid-tight
                  continuous external weld.

                  Exception: Factory-built ducts listed in accordance with UL 1978. 8

                  5.1.2
                  Ducts shall be constructed and installed so that grease cannot collect in
                  any portion thereof, and ducts shall slope not less than one-fourth unit
                  vertical in 12 units horizontal (2% slope) toward the hood or toward an
                  approved grease reservoir. Where horizontal ducts exceed 75 ft (22.8 m)
                  in length, the slope shall not be less than one unit vertical in 12 units
                  horizontal (8.3% slope).

                  Exception: Listed factory-built ducts constructed of a round cross section
                  shall be permitted to be installed at a reduced slope as allowed by their
                  listing and the manufacturer's installation instructions.

                  5.1.3
                  Ducts shall not pass through firewalls, unless enclosed in accordance with
                  the applicable codes and standards.
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                  5.1.4
                  Ducts shall lead to the exterior of the building.

                  5.1.5
                  A separate grease duct system shall be provided for each Type I hood. A
                  separate grease duct system is not required where all of the following
                  conditions are met:

                  a. all interconnected hoods are located within the same story,

                  b. all interconnected hoods are located within the same room or in
                  adjoining rooms,

                  c. interconnecting ducts do not penetrate fire barriers, and

                  d. the grease duct system does not serve solid fuel-fired appliance(s).

                  5.1.6
                  Ducts shall be installed without forming dips or traps that might collect
                  grease, except where unavoidable. In such situations, the duct section
                  having a dip or trap shall be provided with drain access for regular
                  cleanout.

                  Note: For other duct construction and installation details such as welded
                  duct connections, access openings for inspection and maintenance,
                  clearance to combustible material, interior installation (including fire-rated
                  enclosures and the clearance between the duct and interior surface of the
                  enclosures), exterior installation, and exhaust system termination on the
                  roof or at a wall, refer to NFPA 96, 9 the International Mechanical Code, 10
                  or local codes.

                  5.1.7
                  Ducts with field-applied insulation listed in accordance with ASTM E 2336,
                  Standard Test Methods for Fire Resistive Grease Duct Enclosure
                  Systems, 11 and factory-built ducts with integral insulation listed in
                  accordance with UL 2221, Tests of Fire Resistive Grease Duct Enclosure
                  Assemblies, 12 are acceptable, where included in NFPA 96, 9 the
                  International Mechanical Code, 10 or the Uniform Mechanical Code 13 for
                  use as an alternative to a duct and fire-resistance-rated shaft enclosure
                  around the duct.

                  5.2 Duct Leakage Performance Testing

                  5.2.1                                                                             BACK TO TOP


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                  Prior to the use or concealment of any portion of a grease duct system, a
                  leakage test shall be performed to determine that all welded joints and
                  seams are liquid tight. Ducts shall be considered to be concealed where
                  they are installed in shafts or covered by coatings or wraps that prevent
                  the duct from being visually inspected on all sides. It is permissible to test
                  the duct in sections, provided that, after the duct system is completely
                  assembled, all field-assembled joints, including the duct-to-hood
                  connection, are tested. When the testing is performed in this manner, only
                  the field-assembled joints of listed factory-built grease ducts are required
                  to be tested.

                  5.2.2
                  The leakage test shall consist of a light test, an air or water pressure test,
                  or an approved equivalent test. The permit holder shall be responsible for
                  providing the necessary equipment and for performing the test.

                  5.2.2.1 Light Test.
                  The light test shall be performed by passing a lamp having a power rating
                  of not less than 100 W through the entire section of ductwork to be tested.
                  The lamp shall be open so as to emit light equally in all directions
                  perpendicular to the duct walls. No light from the duct interior shall be
                  visible through any exterior surface.

                  5.2.2.2 Air Test.
                  The air test shall be performed by sealing the entire duct system from the
                  hood exhaust opening(s) to the duct termination. The sealed duct system
                  shall then be pressurized to a minimum pressure of 1.0 in. (249 Pa) water
                  column and shall be required to hold the initial set pressure for a minimum
                  of 20 min.

                  5.2.2.3 Water Test.
                  The water test shall be performed by use of a pressure washer operating
                  at a minimum of 1500 psi (10.34 kPa), simulating cleaning operations. The
                  water shall be applied directly to all areas to be tested. No water applied to
                  the duct interior shall be visible on any exterior surface in any volume
                  during the test.

                  5.3 Airflow Performance

                  5.3.1
                  The velocity in the duct shall be at least 500 fpm (2.54 m/s).

                  Note: This standard does not limit the airflow velocity by specifying a
                  maximum velocity, but due to typical spatial and cost constraints, general
                  design duct velocities between 1500 and 1800 fpm (7.62 and 9.14 BACK TO TOP


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                  are often used when designing for maximum airflows. Duct velocities
                  greater than 2500 fpm (12.70 m/s) can cause unwanted duct pressure and
                  noise levels.

                  5.3.2
                  Lower exhaust airflow than that required for full-load cooking conditions is
                  permitted during no-load cooking conditions, where engineered controls or
                  listed multi-speed or variable-speed controls automatically operate the
                  exhaust system to maintain capture and removal of cooking effluents.

                  5.4 Fans

                  5.4.1
                  Fans shall be of sufficient capacity to provide the required airflow against
                  the system's resistance . Expected air temperatures, altitude, windage, and
                  system effects shall be taken into account when determining fan capacity.
                  Fan air performance shall be tested and certified according to AMCA
                  Standard 210. 14

                  Note: Belt-drive fans and adjustable-drive sheaves provide a means of
                  adjusting the fan speed for final system balancing. A variable-speed
                  controller allows a broader range of speed adjustability.

                  5.4.2
                  Exhaust fans (up-blast, in-line, or utility-set fans) serving Type I hoods
                  shall be capable of handling hot, grease-laden air and flare-up conditions.
                  Fans shall be designed to contain and properly drain grease removed from
                  the air-stream. The fan housing or scroll that contains the grease shall be
                  fully welded so that it is liquid tight. The fan impeller shall be a
                  self-cleaning design.

                  Exception: Fans that are listed to UL 705, Standard for Power
                  Ventilators, 15 and UL 762, Outline of Investigation for Power Roof
                  Ventilators for Restaurant Exhaust Applications. 16

                  5.4.3
                  Up-blast fans shall be hinged with tip-over restraints and have a flexible
                  weatherproof electrical cable to permit inspection and cleaning. Utility-set
                  exhaust fans shall be provided with access panels for inspection and
                  cleaning.

                  5.4.4
                  Access shall be provided for cleaning the fan wheel. The access opening
                  shall be a minimum of 3 x 5 in . (76 x 127 mm) or have a circular d BACK TO TOP


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                  of at least 4 in. (102 mm) on the curvature of the outer fan housing. Fan
                  drive assemblies shall be separated from the airstream. Covers shall be
                  provided with motor weather protection for outdoor installation and belt
                  guards for indoor applications.

                  5.4.5
                  The ductwork extending to up-blast fans shall extend a minimum of 18 in.
                  (457 mm) above the roof surface.

                  5.5 Other Equipment

                  5.5.1
                  Thermal recovery units, air pollution control devices, or other devices can
                  be used in the exhaust systems when specifically approved for such use
                  except where prohibited. Refer to Section 514.2 of the lnteration
                  Mechanical Code, 10 for prohibited applications.

                  5.5.2
                  Clearance, installation, and fire-extinguishing system requirements shall
                  comply with applicable codes and standards.

                  5.6 Exhaust Discharge

                  5.6.1
                  Exhaust systems shall be designed to prevent re-entrainment into building
                  intakes. Prevailing winds and velocities shall be considered when locating
                  intake and exhaust openings. The minimum horizontal distance between
                  discharge and intake shall be 10 ft (3 m). Where this horizontal distance is
                  not achievable, the exhaust shall discharge a minimum of 2 ft (0.6 m)
                  above any outdoor air. Exhaust discharge shall not impinge on overhangs,
                  parapets, other equipment, or higher parts of buildings.

                  Note: Refer to ASHRAE Handbook-Fundamentals, Chapter 16, for
                  airflow patterns around buildings 17 .

                  5.6.2
                  Exhaust airstreams for Type I hoods shall be located a minimum of 40 in.
                  (1016 mm) above the finished roof surface and be directed away from roof
                  and building surfaces.

                  5.6.3
                  Additional protection for roofing material at the exhaust discharge of a
                  Type I hood shall be provided to prevent material degradation or failure.
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                  5. 7 Operation and Maintenance

                  5.7.1
                  Exhaust systems shall be operated whenever cooking equipment is turned
                  on through either direct or indirect interlocks.

                  5.7.2
                  The entire exhaust system shall be inspected at regular intervals for
                  grease buildup by a properly trained, qualified, and certified company or
                  person(s) acceptable to the authority having jurisdiction.

                  5.7.2.1
                  The schedule of inspection for grease buildup in the exhaust system and
                  cleaning of the exhaust system shall comply with NFPA 96. 9

                  5.7.2.2
                  Upon inspection, if the exhaust system is found to be contaminated with
                  grease deposits, the contaminated portions of the exhaust system shall be
                  thoroughly cleaned by a properly trained, qualified, and certified company
                  or person(s) acceptable to the authority having jurisdiction.

                  5.7.3
                  Inspection and maintenance of thermal recovery units, air pollution control
                  devices, or other devices shall be conducted by properly trained and
                  qualified persons at a frequency specified in the manufacturer's
                  instructions or equipment listing.

                  6. REPLACEMENT AIR

                  6.1 Air Introduction

                  6.1.1
                  The terminal velocity of air introduced from devices in the kitchen shall not
                  exceed 50 fpm (0.25 m/s) at the lowest edges of the hood.

                  Note: Using perforated ceiling or perimeter diffusers generally results in a
                  lower terminal velocity at the lower edge of the hood than directional
                  ceiling diffusers.

                  Note: Best practice is to bring conditioned air into the kitchen away from
                  the hood and distribute it throughout the kitchen to improve worker
                  productivity and comfort as well as to lower hood exhaust rates .

                  6.1.2
                  Transfer air from dining or other areas that passes through openin BACK TO TOP

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                  as windows or walkways shall be sized for air velocities not to exceed 75
                  fpm (0.381 m/s) based on the free area of the opening. Openings provided
                  for transfer air shall remain open during system operation.

                  Note: Such openings should be arranged to avoid creating drafts on
                  personnel. Consideration should be given to minimizing air velocity when
                  openings are used as passthrough openings for prepared food.

                  6.2 Air Balance

                  6.2.1
                  Design plans for a facility with a commercial kitchen ventilation system
                  shall include a table or diagram indicating the design outdoor air balance
                  (see example A 1 in Informative Appendix A). The design outdoor air
                  balance shall indicate all exhaust and replacement air for the facility, plus
                  the net exfiltration if applicable. The total replacement air airflow rate shall
                  equal the total exhaust airflow rate plus the net exfiltration. It is permissible
                  to supply replacement air to the kitchen space by using transfer air from
                  areas other than the kitchen.

                  Note: Although individual replacement air sources are not required to be
                  100% outdoor air, sufficient outdoor air must be introduced into the system
                  to compensate for each exhaust and exfiltration component. For example,
                  for 100 cfm (4 7 Lis) transfer air from room A to room B to qualify as
                  replacement air, at least 100 cfm (47 Lis) outdoor air must be provided to
                  room A (e.g., as outdoor air to an environmental air system serving room
                  A, infiltration to room A, or transfer air from another room).

                  6.2.2
                  Operation of systems where airflows can vary (including, but not limited to,
                  HVAC systems incorporating variable air volume, systems with outdoor air
                  economizer control, or exhaust systems with variable airflow) shall be
                  controlled to comply with the requirements of this standard over the full
                  range of anticipated airflows. Additional air balance diagrams or tables
                  shall be provided as necessary to indicate compliance over the full range
                  of anticipated airflow.

                  6.2.3
                  Where the design air balance relies upon transfer air from a source
                  beyond the facility's control (e.g., air drawn into an individual tenant's
                  facility from the common areas of a shopping mall), this source shall be
                  identified.

                  6.3 Pressure Differentials
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                  6.3.1
                  The commercial kitchen ventilation system shall be designed to establish
                  pressure differentials to control odor migration and to control dust, dirt, and
                  insects in accordance with the following criteria:

                  6.3.1.1
                  The kitchen of a food-service facility shall be maintained under a negative
                  pressure with respect to dining areas and adjacent non-food areas. The
                  maximum negative pressure shall not exceed 0.02 in. water column (5.0
                  Pa).

                  6.3.1.2
                  A freestanding food-service facility (i.e., a food-service facility that entirely
                  occupies a single building) shall be maintained under a positive pressure
                  with respect to outdoors.

                  Exception: Where migration of food odors to adjacent interior rooms
                  within the same tenancy would not be objectionable. Display cooking
                  under a hood located in the dining area is not considered a kitchen.

                  6.3.2
                  Where a food-service facility shares a wall with an adjacent non-food-
                  service facility, such as a retail center or a shopping mall, the food-service
                  facility shall be maintained under a negative pressure with respect to
                  outdoors and the adjacent spaces.

                  Exceptions:

                  • Where the separation between the food service facility and the adjacent
                  interior room is sealed substantially air-tight to prevent odor migration.

                  • In shopping malls and other occupancies where a food-service facility is
                  open to another tenancy or to the mall common area, the food-service
                  facility shall be permitted to be under a negative pressure with respect to
                  the non-food-service occupancy.

                  6.3.3
                  The pressure in any room in which a draft-hood vented appliance, such as
                  a gas water heater, is located shall be maintained not less than 0.02 in. of
                  water column (5.0 Pa) below outdoor ambient pressure.

                  7. SYSTEM CONTROLS

                  7 .1 Operating Controls
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                  7.1.1
                  Replacement air systems shall be interlocked to ensure operation upon
                  activation of the exhaust system.

                  7.2 Demand-Control Ventilation

                  7.2.1
                  Where demand-control ventilation is used, it shall meet the requirements
                  of Section 4.4.3.

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                  (This appendix is not part of this standard. It is merely informative
                  and does not contain requirements necessary for conformance to the
                  standard. It has not been processed according to the ANSI
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